UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

 

 

UNITED STATES OF AMERICA No. 23-cr-10159
Vv. ORDER APPOINTING
CLASSIFIED INFORMATION
JACK DOUGLAS TEIXEIRA, SECURITY OFFICER
Defendant.
ORDER

The Court has been made aware that this case will involve the use and discovery of
classified information. Federal law explicitly provides that federal courts must have security
procedures for the handling of classified information. See Classified Information Procedures Act,
Pub. L. 96-456 § 9, 94 Stat. 2025 (1980). Pursuant to Paragraph 2 of the Revised Security
Procedures Established Pursuant to Pub L. 96-456, 94 Stat. 2025, by the Chief Justice of the United
States for the Protection of Classified Information, the Court HEREBY APPOINTS Harry J.
Rucker, Security Specialist, as the Classified Information Security Officer in the above-captioned
matter.

The Court FURTHER APPOINTS Daniel O. Hartenstine, Daniella M. Medel, Matthew W.

Mullery, and Winfield S. Slade as Alternate Court Security Officers in the above-captioned matter.

IT IS SO ORDERED.

Babs, flo,

Hon. Indira Talwani

. / United States District Judge
Dated: fe ZORS
